Case: 1:16-cv-08174 Document #: 1-1 Filed: 08/10/16 Page 1 of 6 PageID #:5
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Case: 1:16-cv-08174 Document #: 1-1 Filed: 08/10/16 Page 2 of 6 PageID #:6
Case: 1:16-cv-08174 Document #: 1-1 Filed: 08/10/16 Page 3 of 6 PageID #:7
Case: 1:16-cv-08174 Document #: 1-1 Filed: 08/10/16 Page 4 of 6 PageID #:8
Case: 1:16-cv-08174 Document #: 1-1 Filed: 08/10/16 Page 5 of 6 PageID #:9
Case: 1:16-cv-08174 Document #: 1-1 Filed: 08/10/16 Page 6 of 6 PageID #:10
